      Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 1 of 17




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                      5:21-cv-844-XR

GREGORY W. ABBOTT, et al.,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                      1:21-cv-0780-XR

JOSE A. ESPARZA, et al.,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                     5:21-cv-0848-XR

GREGORY WAYNE ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                     1:21-cv-0786-XR

JOSE EXPARZA, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                     5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 2 of 17




             PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiffs in the above-captioned

actions, collectively, serve these Requests for Production upon Defendant Kenneth Paxton, in his

official capacity as the Texas Attorney General.

       Responses to these Requests are to be produced to Graham White within 30 days of receipt.

To arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

       Each Request for Production is subject to the Definitions and Instructions listed below.

                                        DEFINITIONS

       Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

       1.      “2020 Ballot Fraud Intervention Team” means the Ballot Fraud Intervention Team

established by the Texas Attorney General’s Office in 2020.

       2.      “2021 Election Integrity Unit” refers to the 2021 Texas Election Integrity Unit

established by the Texas Attorney General’s Office in 2021.

       3.      “24-hour voting” means any method of voting at polling places between the hours

of 7:00 p.m. and 7:00 a.m.

       4.      “Any” or “all” mean “any and all.”

       5.      “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,
                                                   2
         Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 3 of 17




report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         6.     “Curbside voting” means, as defined in Tex. Elec. Code § 64.009, any method of

voting where a voter, who is physically unable to enter the polling place without personal

assistance or likelihood of injuring the voter's health, request that an election officer deliver a ballot

to the voter at the polling place entrance or curb.

         7.     “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

available approximation (including relationship to other events).

         8.     “Demographics” means characteristics relating to the population or groups within

the population and, as used herein, expressly includes but is not limited to race, age, and gender.

         9.     “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

         10.    “Drive-thru voting” means any method of voting in which a voter casts a ballot

from inside a motor vehicle.

         11.    “Drop box voting” means any method of voting in which a voter casts a ballot by

depositing their ballot in a ballot box located outside of a polling place.

         12.    “Early voting” means any method of voting that occurs prior to the uniform election

date for a primary or general election.



                                                    3
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 4 of 17




       13.     “Including” means including, but not limited to.

       14.     “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,

bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.

       15.     “SB 1” means the legislation designated as Senate Bill 1, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was enacted during the 87th Second

Called Session of the Texas Legislature and signed by the Governor of Texas on September 7,

2021, including any predecessor or related bills from any legislative session in 2021.

       16.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       17.     “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       18.     “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;



                                                  4
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 5 of 17




increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       19.     “Straight-ticket voting” means any method of voting in which a voter may select a

political party’s candidates in one motion or gesture.

       20.     “Texas Legislature” means the members and staff of the Texas Senate and Texas

House of Representatives.

       21.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       22.     “Vote-by-mail” means any method of voting in which a voter casts a ballot received

in the mail.

       23.     “Vote harvesting” means, as defined in SB 1, an in-person interaction with one or

more voters, in the presence of the ballot or during the voting process, intended to deliver votes

for a specific candidate or measure.

       24.     “You” and “your” means Texas Attorney General Kenneth Paxton, and his office,

including its employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       1.      You shall produce materials and serve responses and any objections within 30 days

       after service of these Requests for Production.

       2.      If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.




                                                  5
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 6 of 17




       3.       If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       4.       Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a

description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       5.       Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       6.       Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       7.       All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically



                                                  6
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 7 of 17




“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers

on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.

       8.      Each request and subparagraph thereof are to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       9.      Each document produced should be categorized by the number of the document

request in response to which it is produced.

       10.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       11.     These Requests are continuing in nature, up to and including the course of trial.

Materials sought by these Requests that become available after you serve your responses must be

disclosed to counsel for Plaintiff by supplementary response or responses.

       12.     Pursuant to Federal Rule of Civil Procedure 26(e), you are under a duty to promptly

amend your responses to these Requests if you learn that an answer is in some material respect

incomplete or incorrect. If you expect to obtain further information or expect the accuracy of a



                                                7
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 8 of 17




response given to change between the time responses are served and the time of trial, you are

requested to state this fact in each response.

       13.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in

response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       14.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       15.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.

       16.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       17.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                               REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

any rationale(s) for drafting or enacting SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

the implementation or enforcement of SB 1, SB 7, HB 3, or HB 6.
                                                 8
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 9 of 17




        REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

voter turnout, including patterns of voter turnout by racial or ethnic minorities, disabled persons,

and partisan affiliation during the 2020 primary and general elections.

        REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

the impact or potential impact of SB 1, SB 7, HB 3, or HB 6 on particular demographics,

including but not limited to racial or ethnic minorities, disabled persons, and party affiliation.

        REQUEST FOR PRODUCTION NO. 5. All documents and communications regarding

usage of the following methods of voting by racial or ethnic minorities and disabled persons, or

by party affiliation, during the period from 2016 to present:

        (a) Drop-box voting;

        (b) Drive-thru voting;

        (c) 24-hour voting;

        (d) Straight-ticket voting;

        (e) Vote-by-mail;

        (f) Early voting;

        (g) Curbside voting;

        (h) All other methods of voting.

        REQUEST FOR PRODUCTION NO. 6. All documents and communications regarding

voter assistance, including transportation assistance and voting harvesting, and patterns of

requests for voter assistance by race, ethnicity, disability status, or party affiliation during the

period from 2016 to present.

        REQUEST FOR PRODUCTION NO. 7. All documents and communications regarding

the number or proportion of Texas residents, Texas citizens of voting age, or Texas registered


                                                   9
       Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 10 of 17




voters who have, or lack, a driver’s license, election identification certificate, personal

identification card, or social security number, including patterns by race, ethnicity, disability

status, or party affiliation from 2016 to present.

       REQUEST FOR PRODUCTION NO. 8. All documents and communications

discussing actual or alleged illegal voting, election fraud, or other criminal conduct in connection

with the following methods of voting during the period from 2016 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting;

       (g) Curbside voting;

       (h) All other methods of voting.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications regarding

the methods you took to secure, monitor, surveil, watch, or supervise the following methods of

voting during the period from 2016 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting;

                                                     10
       Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 11 of 17




       (g) Curbside voting;

       (h) All other methods of voting.

       REQUEST FOR PRODUCTION NO. 10. All documents and communications

regarding actual or alleged illegal voting, election fraud, or other criminal conduct in connection

with voter assistance, including transportation assistance and vote harvesting, during the period

from 2016 to present.

       REQUEST FOR PRODUCTION NO. 11. All documents and communications

regarding instances of actual or alleged violence, discrimination, harassment, intimidation, or

inappropriate behavior from a partisan poll watcher, poll worker, or election judge, during the

period from 2016 to present.

       REQUEST FOR PRODUCTION NO. 12. All documents and communications

regarding the purpose of forming the 2020 Ballot Fraud Intervention Team and the 2021 Texas

Election Integrity Unit of the Office of the Texas Attorney General.

       REQUEST FOR PRODUCTION NO. 13. All documents and communications related

to voting practices, election administration, and voter turnout in Harris County.

       REQUEST FOR PRODUCTION NO. 14. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct relating to elections

in Harris County.

       REQUEST FOR PRODUCTION NO. 15. All documents and communications related

to voting practices, election administration, and voter turnout in Bee County.

       REQUEST FOR PRODUCTION NO. 16. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct related to elections in

Bee County.


                                                  11
        Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 12 of 17




        REQUEST FOR PRODUCTION NO. 17. All documents and communications related

to voting practices, election administration, and voter turnout in Bexar County.

        REQUEST FOR PRODUCTION NO. 18. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct relating to elections

in Bexar County.

        REQUEST FOR PRODUCTION NO. 19. All communications between you and the

Texas Legislature regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding

the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities,

disabled persons, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 20. All communications between you and the

Texas Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the

impacts or potential impacts of SB 1 on racial or ethnic minorities, disabled voters, and voters by

party affiliation.

        REQUEST FOR PRODUCTION NO. 21. All communications between you and the

Texas Lieutenant Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications

regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic

minorities and disabled voters, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 22. All communications between you and the

Texas Secretary of State regarding SB 1, SB 7, HB 3, and HB 6, including communications

regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic

minorities and disabled voters, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 23. All documents and communications between

you and local election officials regarding SB 1, SB 7, HB 3, and HB 6, including



                                                 12
       Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 13 of 17




communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on

racial or ethnic minorities and disabled voters, and on voters by party affiliation.

       REQUEST FOR PRODUCTION NO. 24. All communications between you and the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB

1, SB 7, HB 3, and HB 6, including communications regarding the impacts or potential impacts

of SB 1 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:

       (a) The Heritage Foundation

       (b) The Texas Public Policy Foundation

       (c) The American Legislative Exchange Council

       (d) The State Policy Network

       (e) Honest Elections Project

       (f) Public Interest Legal Foundation

       (g) American Civil Rights Union

       (h) Project Veritas

       (i) The Republican National Committee




 Dated: November 29, 2021.                         Respectfully submitted,

 /s/ Sean Morales-Doyle                            /s/ Uzoma N. Nkwonta___
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                                                 13
     Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 14 of 17




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                                            14
      Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 15 of 17




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                                      15
      Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 16 of 17




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                                              16
Case 5:21-cv-00844-XR Document 747-4 Filed 09/01/23 Page 17 of 17




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                               17
